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              UNITED STATES DISTRICT COURT
             MIDDLE DISTRICT OF PENNSYLVANIA

CHARLES STIFFLER a/k/a
CHARLIE STIFFLER,

           Plaintiff,                  CIVIL ACTION NO. 3:18-cv-01337

           v.                          (SAPORITO, M.J.)

FRONTLINE ASSET
STRATEGIES, LLC,

           Defendant.

                            MEMORANDUM

     This matter comes before the Court on the Plaintiff’s Motion to

Compel and for Sanctions (Doc. 40), filed pursuant to Rule 37(a) and (b)

of the Federal Rules of Civil Procedure. Originally, the plaintiff sought

an order compelling the defendant to answer a particular interrogatory

and produce documents responsive to a particular request for production,

plus an award of reasonable attorney fees incurred by the plaintiff as a

result of the defendants’ discovery nonfeasance. Since the motion was

filed, the defendant has apparently complied with its discovery

obligations, belatedly, but the plaintiff continues to request that the

defendant be sanctioned with an award to the plaintiff of his reasonable

attorney fees.
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      On August 22, 2018, the plaintiff served the defendant by mail with

a set of written discovery requests. Interrogatory No. 11 requested that

the defendant: “State your net worth for calendar years 2016, 2017 and

2018.” Document Request No. 10 requested that the defendant produce:

“Defendant’s financial reports, financial statements and tax returns for

calendar years 2016, 2017 and 2018, including but not limited to any

Documents concerning the Defendant’s net worth for each said year.”

Because these discovery requests were served by mail, the defendant’s

response was due on or before September 24, 2018. See Fed. R. Civ. P.

6(d); Fed. R. Civ. P. 33(b)(2); Fed. R. Civ. P. 34(b)(2)(A); Fed. R. Civ. P.

36(a)(3).

      On September 28, 2019, having received no timely response to his

interrogatories and requests for production, 1 the plaintiff contacted the

Court to request a discovery conference. (Doc. 13.) The Court scheduled

a telephonic conference on the discovery dispute and ordered the parties

to continue to engage in good faith efforts to resolve the dispute in the




      1The defendant did serve a response—albeit an untimely one—to
the plaintiff’s requests for admission on September 27, 2018. But the
instant motion concerns only Interrogatory No. 11 and Document
Request No. 10.

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meantime. (Doc. 14.)

     In lieu of proceeding with the scheduled discovery conference, the

parties submitted a stipulation resolving the discovery dispute on

October 18, 2019. (Doc. 23.) Later that same day, the Court entered an

order approving the terms of the stipulation. (Doc. 24.) In relevant part,

the stipulated order provided that responses to certain discovery requests

not at issue here would be deferred, but that: “Defendant withdraws all

objections to all other discovery that Plaintiff has served and will serve

full and complete responses to that discovery, without further objection

of any kind, by October 25, 2018.” (Id. ¶ 2.)

     On October 25, 2018, the defendant served its responses to the

outstanding written discovery, together with a proposed confidentiality

order. These responses are not in the record before us but, based on the

materials that are, the defendant apparently asserted both new and

previously withdrawn objections to the plaintiff’s discovery requests,

despite its stipulation that all objections had been withdrawn and no

further objections would be raised. In addition, no documents were

produced, with the defendant advising that documents would not be

produced until the plaintiff executed the proposed confidentiality order.



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(See Doc. 28; Doc. 28-3.)

     On October 30, 2018, the plaintiff contacted the Court to request

permission to file a formal Rule 37 motion to compel and for sanctions.

(Doc. 28.) On November 8, 2018, the parties participated in a telephonic

conference concerning the discovery dispute and the proposed

confidentiality order. (Doc. 32.) The Court entered the confidentiality

order requested by the defendant. (Doc. 33.) The Court also ordered the

defendant to “provide to plaintiff all outstanding responses to requests

for production of documents and answers to interrogatories on or before

November 15, 2018.” (Doc. 34.) During the discovery conference, the

Court advised that, if the plaintiff was not satisfied with those responses,

he could engage in formal discovery motion practice. (Doc. 32.)

     That same day, Thursday, November 8, 2018, the defendant served

its revised or amended written discovery responses. (Doc. 40-2.) In

response to Interrogatory No. 11, the defendant answered with a general

reference to its forthcoming document production: “Frontline refers

Plaintiff to the documents produced in response to Plaintiff’s Request for

Documents.” 2 (Id. at 10.) The defendant responded to Document Request


     2   See generally Fed. R. Civ. P. 33(d)(1) (“[T]he responding party may

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No. 10 in substantially the same fashion: “Frontline refers Plaintiff to the

documents produced herein.” (Id. at 3.) The defendant provided the

promised document production as an email attachment on Monday,

November 12, 2018. (Doc. 40-3.) In that same email, counsel for the

defendant provided an informal, unsworn representation with respect to

the then-current net worth of the defendant, apparently in response to

Interrogatory No. 11, which had requested the company’s net worth for

2016, 2017, and 2018. 3

     On Wednesday, November 14, 2018, the plaintiff emailed the

defendant to request supplementation of its discovery responses. In

particular, the plaintiff complained that the defendant had failed to

specify which documents produced were responsive to Document Request

No. 10, and that it had failed to sufficiently respond to Interrogatory No.

11.4 On Monday, November 19, 2018, the defendant responded by letter,



answer by . . . specifying the records that must be reviewed, in sufficient
detail to enable the interrogating party to locate and identify them as
readily as the responding party could . . . .”).
      3 See generally Fed. R. Civ. P. 33(b) (providing that interrogatories

directed to a corporation must be answered by an “officer or agent” rather
than counsel, and that answers must be “in writing under oath” and
signed by “the person who makes the answers,” rather than counsel).
      4 See generally Fed. R. Civ. P. 34(b)(2)(E) (“Unless otherwise

stipulated or ordered by the court, . . . [a] party must produce documents

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advising that it would not amend its discovery responses to identify

responsive documents with any greater specificity, but it would

supplement its answer to Interrogatory No. 11 “immediately with the

appropriate documents.” (Doc. 40-4, at 2.)

     On December 5, 2018, the plaintiff emailed the defendant to inquire

about the promised supplemental document production. (Doc. 44, at 6–

7.) It is unclear from the record before us whether the defendant

responded to this inquiry, but it did not at that time produce the promised

documents or disclose the requested information.

     On December 14, 2018, having received no further disclosure or

production with respect to the defendant’s net worth, the plaintiff filed

the instant motion to compel and for sanctions. (Doc. 40; see also Doc. 41.)

On December 15, 2018—thirty days after “all outstanding responses to

requests for production of documents and answers to interrogatories”

were due to be served—the defendant produced the responsive financial

documents in its possession. (Doc. 44, at 7.)

     On January 28, 2019, the defendant filed its brief in opposition to




as they are kept in the usual course of business or must organize and
label them to correspond to the categories in the request . . . .”).

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the motion to compel and for sanctions. (Doc. 44.) In addition to providing

its own version of the events leading up to the plaintiff’s motion to compel

and for sanctions, arguing that it substantially complied with the October

18, 2018, stipulated order and that it was substantially justified in

withholding discovery while it sought a confidentiality order, the

defendants also argued against the imposition of sanctions based on the

plaintiff’s allegedly similarly untimely and defective responses to the

defendant’s discovery requests. 5

     On February 11, 2019, the plaintiff filed its reply brief. (Doc. 45.)

The plaintiff noted that, since filing his motion, the requested

information and documents had been produced. Nevertheless, the

plaintiff argued that sanctions should be imposed. Specifically, the

plaintiff requested an award of reasonable attorney fees pursuant to Rule

37(a) and (b).

     Rule 37 of the Federal Rules of Civil Procedure provides the


     5 Based on the plaintiff’s reply brief and attached exhibits, it is clear
that his discovery responses were timely served. Moreover, the plaintiff’s
objections and substantive responses to the defendant’s discovery
requests is immaterial to plaintiff’s motion to compel and for sanctions,
and none of those objections or responses is actually before us, as the
defendant has not filed a motion to compel, nor were any of the plaintiff’s
discovery responses submitted into the record before us.

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enforcement mechanism for what generally are otherwise self-executing

discovery procedures. Under Rule 37(a), a party seeking discovery may

move for an order compelling the responding party to answer Rule 33

interrogatories or to produce documents responsive to a Rule 34 request

for production. See Fed. R. Civ. P. 37(a). In addition, this rule provides

that, if the requested discovery is provided after a Rule 37(a) motion is

filed, we must require the responding party or its attorney to pay the

movant’s reasonable expenses incurred in making the motion, including

attorney fees, unless the response or objection was substantially justified

or other circumstances make an award of expenses unjust. See Fed. R.

Civ. P. 37(a)(5)(A).

     Under Rule 37(b), a party that fails to obey an order compelling

discovery pursuant to Rule 37(a) may be sanctioned for its failure or

refusal to comply. See Fed. R. Civ. P. 37(b). In addition, this rule likewise

provides that, instead of or in addition to other enumerated sanctions,

“the court must order the disobedient party, the attorney advising that

party, or both to pay the reasonable expenses, including attorney’s fees,

caused by the failure [to comply with a Rule 37(a) order], unless the

failure was substantially justified or other circumstances make an award



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of expenses unjust.” Fed. R. Civ. P. 37(b)(2)(C).

     The plaintiff here has requested relief under both provisions

because, at the time of filing, the defendant had failed to fully answer

Interrogatory No. 11 or to produce the materials requested by Document

Request No. 10, despite the issuance of two separate discovery orders by

the Court.

     With respect to the plaintiff’s original written discovery requests,

the defendant argues that its responses were timely served. As recounted

above, however, the defendant miscalculated the due dates under the

federal rules. It’s tardy initial responses, however, are of no moment,

because our two prior orders effectively granted the defendant an

extension of time to cure its defective initial response to the plaintiff’s

written discovery—first until October 25, 2018, and then until November

15, 2018. Notwithstanding what was effectively a seven-week extension

of time, the defendant still failed to fully answer Interrogatory No. 11 and

produce materials responsive to Document Request No. 10 until thirty

days later, on December 15, 2018.

     The defendant argues that he “fully” complied with the stipulated

discovery order entered on October 18, 2018, because he served written



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responses to the plaintiff’s discovery requests on October 25, 2018, and

provided an informal, unsworn representation by counsel with respect to

the defendant’s current net worth. But these responses were not the “full

and complete responses” required by that stipulated order. Despite

expressly withdrawing all objections to the plaintiff’s discovery requests

when he entered into the stipulation, the defendant’s discovery responses

on October 25, 2018 once again interposed objections and failed to provide

any substantive answer to Interrogatory No. 11, which requested net

worth for calendar years 2016 and 2017 as well as 2018, or to produce

any documents responsive to either Interrogatory No. 11 or Document

Request No. 10. Nevertheless, the defendant was effectively relieved of

this obligation by our second discovery order, entered on November 8,

2018, which provided him with additional time to cure his defective

discovery responses.

     The defendant does not argue that it substantially complied with

the discovery order entered on November 8, 2018, which required it to

provide “all outstanding responses” to the plaintiff’s discovery requests

on or before November 15, 2018. Instead, the defendant argues in cursory

fashion that it’s informal disclosure of its current, 2018 net worth was all



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that it was required to disclose, and anything beyond that was

“superfluous and burdensome,” “a vexatious fishing expedition,” and an

“attempt to harass” the defendant. But the defendant expressly waived

all objections to the plaintiff’s interrogatories and document requests,

including any objection that the requested discovery was irrelevant or

unduly burdensome. Moreover, in putative class actions under the Fair

Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq., such

as this one, discovery into an alleged debt collector’s net worth is both

relevant and routinely granted. See, e.g., Aldaya v. Encore Capital Grp.,

Inc., Civil No. 15-00284 SOM-RLP, 2017 WL 11139922, at *2 (D. Hawaii

Jan. 20, 2017) (“[I]t is clear that net worth is a relevant area of inquiry

in FDCPA class actions even before a class has been certified. Courts

routinely require disclosure of net worth in FDCPA cases prior to class

certification.”) (citation and internal quotation marks omitted); Hallmark

v. Cohen & Slamowitz, Midland Funding LLC, 302 F.R.D. 295, 300

(W.D.N.Y. 2014) (“[I]n FDCPA class action cases seeking damages

pursuant to § 1692K(a)(2)(B) courts permit discovery of a defendant’s

underlying financial data relevant to the issue of defendant’s net

worth.”); Muha v. Encore Receivable Mgmt., Inc., 236 F.R.D. 429, 430–31



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(E.D. Wis. 2006) (rejecting objections that interrogatory into net worth

was “irrelevant, immaterial, designed to harass and . . . not reasonably

calculated to lead to discoverable evidence”); cf. Fitzgerald Ne. Hosp. of

Philadelphia, 418 F. Supp. 1041, 1044 (E.D. Pa. 1976) (“The net worth of

an ordinary business corporation or commercial business enterprise

might be fairly easy to determine, at least for purposes of class action

certification     so   that   the    potential   class   recovery    could   be

approximated. . . . [T]o make an informed decision on certifying a Truth

in Lending class action, some approximate determination of maximum

recovery would have to be made, if for no other reason than to permit

class members reasonable information upon which to decide whether to

‘opt-out.’”). See generally 15 U.S.C. § 1692k(a)(2)(B) (capping class action

damages at the lesser of $500,000 or 1% of a debt collector’s net worth). 6

      The defendant did not object that responsive documents did not


      6 As noted above, the defendant also argues that its deficient
discovery responses should be excused by the plaintiff’s purportedly
defective responses to the defendant’s discovery requests, but any
perceived defects in the plaintiff’s discovery responses are simply
immaterial to this motion. Even assuming arguendo that the plaintiff has
failed to timely and adequately respond to the defendant’s discovery
requests, that conduct cannot constitute substantial justification for
discovery misconduct by the defendant that occurred weeks or months
before the plaintiff’s responses were even served.

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exist, see, e.g., Hallmark, 302 F.R.D. at 299, or that compiling the

information or locating responsive documents would be unduly

burdensome. Instead, it waived all objections and repeatedly promised to

produce any relevant information and documents, all the while failing to

timely do so. By a narrow margin, we find that the defendant was

substantially justified in withholding disclosure of sensitive financial

information and documents until a confidentiality order was entered. But

while that may excuse the defendant’s discovery nonfeasance with

respect to the plaintiff’s written discovery requests and the stipulated

discovery order entered on October 18, 2018, the defendant offers no

credible or persuasive reason why it failed to provide full and complete

disclosure of its 2016, 2017, and 2018 net worth, or why it failed to

produce its financial reports, financial statements and tax returns for

calendar years 2016, 2017, and 2018, until thirty days after the

November 15, 2018, deadline by which it had been ordered to do so. 7

Indeed, in light of the defendant’s express waiver of all objections, its


     7  We note, in particular, that the defendant did not seek an
extension of time, nor has the defendant informed us, or their adversary,
of any circumstances that caused them to take substantially longer to
locate responsive documents and compile information for disclosure than
they had been granted under our Order of November 8, 2018.

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repeated and unfulfilled promises to provide discovery by a date certain,

and the body of caselaw finding similar requests for information and

documents to be relevant and discoverable, the defendant’s conduct in

this matter appears to have been dilatory, if not contumacious.

     Accordingly, the plaintiff’s motion will be granted in part and

denied in part. The motion will be denied as moot to the extent it seeks

to compel further disclosure by the defendant with respect to plaintiff’s

Interrogatory No. 11 or further production with respect to plaintiff’s

Document Request No. 10. Having found that the defendant was

substantially justified in withholding disclosure or production of

documents until the entry of a confidentiality order, the motion will be

further denied with respect to the request for reasonable attorney fees

incurred on or before November 15, 2018. But, having found that the

defendant provided the requested discovery to the plaintiff on December

15, 2018—the day after the motion was filed, and thirty days after the

deadline by which it had been ordered to do so—the motion will be

granted with respect to the request for reasonable attorney fees incurred

after November 15, 2018.




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     An appropriate Order follows.




Dated: June 26, 2019                    s/ Joseph F. Saporito, Jr.
                                        JOSEPH F. SAPORITO, JR.
                                        United States Magistrate Judge
